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                                            UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLORADO
                                                    ______ DIVISION

 MONTEAGLE VENTURES, LLC,
 DUANE MILLER, and ERIC MACLEOD,                                              Case No.

 Movants,
                                                                              MEMORANDUM IN SUPPORT OF
 v.                                                                           MOTION FOR RETURN OF PROPERTY
                                                                              AND INJUNCTIVE RELIEF
 UNITED STATES OF AMERICA,

 Respondent.

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                                         I. INTRODUCTION

          In recent years federal courts have increasingly scrutinized the Government’s use of “filter

teams” (sometimes referred to as “taint teams”), consisting of government lawyers (and sometimes

non-lawyer investigators), as a mechanism for determining whether materials seized during the

execution of search warrants should be withheld from prosecutors because of the attorney-client

and/or work product privilege.

          In this case the government executed search warrants on Google and thereby obtained

thousands of emails belonging to Movants herein. The materials included many communications

involving attorneys. With respect to the materials seized as a result of the first batch of warrants,

the Government did not establish a filter team, and did not develop the procedures to be used by

the filter team, until after the prosecution team had begun reviewing the seized emails. With

respect to the second batch of warrants, warrants that the Government procured at least a year and

a half ago, Movants learned (on September 1, 2022) that the warrants contained filter team

procedures ostensibly designed to cull out privileged materials before those materials could go to

the prosecution team. But Movants, being completely unaware that the Government was even

seeking warrants, had no opportunity to participate or provide any input into the content of the

filter team procedures.

          The filter team procedures under both batches of warrants suffered from a common and

fatal flaw: they allowed the filter team the ability to declare certain emails as not privileged and

turn them over to the prosecution team, with absolutely no opportunity for Movants to challenge,

or a Court to review, the filter team’s unilateral decision. By deeming itself the final arbiter of

privilege, the Government has impermissibly usurped the power of the Courts and obtained and

retained possession of Movants’ privileged communications and documents.               This ongoing



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intrusion constitutes an irreparable injury for which Movants lack an adequate remedy at law.

Accordingly, Movants now invoke Rule 41(g) of the Federal Rules of Criminal Procedure, and

this Court’s equitable jurisdiction, and ask the Court to grant them injunctive relief and a return of

Movants’ privileged information.

                       II. FACTUAL AND PROCEDURAL BACKGROUND

          In or about the spring of 2020, Movant Duane Miller learned that the federal government

considered him a target of a criminal investigation. Attorneys from the United States Attorney’s

Office for the District of Colorado (the “USAO”) and from the Tax Division of the Department of

Justice (hereinafter referred to collectively as the “Prosecution Team” or “PT”), represented the

United States in connection with the investigation. At a later point in time, Movant Eric MacLeod

learned that he, too, was a target of the investigation. In June 2020, the PT caused 26 grand jury

subpoenas duces tecum to be served on entities (including Movant Monteagle Ventures, LLC

(“Monteagle”)) allegedly owned and/or operated by Mr. Miller and Dr. MacLeod.

          The investigation resulted from Movants’ alleged participation in what the government

calls “syndicated conservation easement” transactions.      These transactions involve the purchase

of real property and the subsequent execution by owners, as grantors, of recorded instruments

(called conservation easements) naming qualified land trusts as grantees. By executing these

instruments, the owners forego certain rights that they would otherwise enjoy to use or develop

the property. These conservation easements are intended to promote ecological objectives, such

as the protection of a natural habitat or the preservation of open space. Section 170(h) of the

Internal Revenue Code generally allows the donor of a conservation easement to take a charitable

contribution deduction on its tax return.




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          Syndicated conservation easements typically involve multiple people and the formation of

multiple entities, such as limited liability companies and limited partnerships. These complex

transactions implicate multiple areas of statutory and regulatory law, including but not limited to

corporate, real estate, securities and tax.          Not surprisingly, participants in the transactions

customarily engage in extensive communications with their attorneys, as well as with accountants

and other advisors. And, in this day and age, a substantial amount of that communication occurs

via email.

          Both Mr. Miller and Dr. MacLeod utilized email accounts associated with Monteagle (with

the domain name “monteagleventures.com”) in connection with easement transactions, and a great

many of their email communications, as is typical, involved attorneys. In addition, both Mr. Miller

and Dr. MacLeod used other email accounts (with the domain name “gmail.com”) to engage in

these communications. Sometimes they used these gmail.com accounts to discuss easement

transactions with each other, with attorneys, and with others. And both Mr. Miller and Dr.

MacLeod used their monteagleventures.com and their gmail.com accounts to conduct other

business unrelated to easements, as well as for personal matters; in both cases, the emails

frequently included communications with attorneys.

A.        The First Seized Emails.

          On April 5, 2021, counsel for Movants received letters from a separate group of attorneys

from the USAO. Exhibit 1 at Appx. 1-6.1 These attorneys (hereinafter the “Filter Team” or “FT”)

characterized themselves as distinct from the PT and stated that they, the FT, had no involvement

in the PT’s underlying investigation. Id. The letters informed Movants, for the first time, that the



1
 Exhibit 1 consists of all relevant correspondence compiled into a single appendix in chronological order for the
convenience of the Court and completeness of the record. Hereinafter, this memorandum will refer to Exhibit 1 as
“Appx.”

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Government had executed search warrants on Google.             Id.   Pursuant to the warrants, the

Government had obtained thousands of emails (hereinafter the “First Seized Emails”) sent to and

from the email accounts d.miller@monteagleventures.com and E.MacLeod@monteagleventures.

com. Id. The FT described itself as serving a screening function to address issues of privilege that

arose with regard to the emails seized pursuant to the warrants.

          Over the course of the seven-month period from April through October of 2021, during

which time the FT and counsel for Movants (and occasionally the PT) communicated by way of

letters and telephone conference, Appx. 7-45, Movants learned the following about the First Seized

Emails:

             •   The search warrants that resulted in the production by Google of the First Seized

                 Emails sought communications spanning from December 20, 2016 through

                 December 12, 2019 with respect to Mr. Miller and January 1, 2016 through May 4,

                 2020 with respect to Dr. MacLeod. Appx. 16.

             •   The First Seized Emails consisted of approximately 20,000 communications.

             •   Google initially produced emails with respect to Mr. Miller and later produced

                 emails with respect to Dr. MacLeod. Appx. 24-25.

             •   After the receipt by the Government of the first batch of documents, a non-attorney

                 IRS Special Agent, not part of the PT, made a cursory review of the emails. She

                 provided to the PT all emails she determined to be not privileged. Appx. 24.

          The PT began reviewing emails from Mr. Miller’s account. Appx. 2, 4, 5-6, 24. About 65

emails into the review, the PT discovered an email which indicated that the sender had “carbon-

copied” an attorney as a recipient. Id. The PT ceased its review and sent the emails to an IRS




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Special Agent to assess whether the situation warranted the creation of a filter team. 2 Appx. 24-

25. The PT retained access to the date, sender, recipient(s) and subject line of every email within

the First Seized Emails. Appx. 2, 4, 6, 25. To the best of Movants’ knowledge, the PT still

possesses that information for all of the First Seized Emails.

          The FT reviewed the First Seized Emails and divided them into three categories: (1)

documents the FT believed to be privileged;3 (2) documents the FT did not believe to likely be

privileged but as to which the FT believed that Movants might assert claims of privilege; and (3)

documents the FT determined to be not privileged, which documents Movants and the FT (and

this Memorandum) labeled the “Category 3” documents. Appx. 1-6, 14. The FT sent, with its

April 5th letters and as supplemented afterwards, those documents it placed in the first and second

categories, and advised Movants that if Movants did not assert privilege with respect to the

documents in the second category within two weeks following receipt, the FT would provide them

to the PT.4 In sum, the FT provided to Movants approximately 9,000 emails from the First Seized

Emails.


2
 Movants understand that documents responsive to the search warrant for Dr. MacLeod’s email account were provided
by Google after the PT’s decision to cease review. Appx. 25. Accordingly, as Movants understand it, Dr. MacLeod’s
monteagleventures.com emails, when ultimately provided by Google, went directly to the FT and were not reviewed
by the PT. Id.
3
 The Filter Team has not actually acknowledged these documents as privileged. Instead, they identified this category
of documents as documents to be returned to Movants “out of an abundance of caution.” Appx. 1 and 3. The Filter
Team acknowledged that this category includes communications with attorneys but asserted that “many of these
documents are not privileged for a variety of reasons.” Id.
4
  At a later point, the PT requested Movants review the documents in the first category for privilege; Movants
understand that documents in the first category as to which Movants did not assert privilege were released by the FT
to the PT. Movants do not know if the FT retained copies of the documents that Movants identified as privileged
within the first category.

For the second category, Movants and the FT ultimately reached an agreement which allotted Movants more than
fourteen days to review the documents. Movants did review those documents and have asserted privilege as to some
of them. Movants assume that the FT has not provided those documents to the PT, although the FT has promised only
that if Movants claimed privilege as to documents within the second category, the FT would “confer with [counsel for
Movants] before providing those documents to the” PT. Appx. 2, 4, 6; see also Appx. 33 (“We will not release any
of those Category 2 documents to the [PT] before we have a chance to confer with you about those documents.”).

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          From the very beginning, the FT intended to provide the Category 3 documents to the PT

without affording Movants an opportunity to review them and assert claims of privilege. Appx.

14. The FT’s April 5, 2021 letters, in fact, stated that the FT had already given them to the PT.

Appx. 2, 4, 6. Movants subsequently learned that technical issues had held up the production of

the Category 3 documents to the PT. Appx. 14; see also Appx. 18. In September 2021, however,

the FT advised Movants that it had turned over to the PT the Category 3 documents. Appx. 41.

During their discussions with the FT, counsel for Movants repeatedly objected (orally and in

writing) to production of the Category 3 documents to the PT without a chance for Movants to

review them. See, e.g. Appx. 7-8, 10, 13-15, 23, 39-40, 44. Counsel for Movants lodged objections

as early as April 16, 2021, as late as October 22, 2021, and a number of times in between. Id.

          In May 2021 the FT asked counsel for Movants to provide to the FT a list of attorneys

involved with Movants during the time periods specified in the search warrants. Appx. 16-17.

That same month Movants provided such a list to the FT but cautioned that the list was compiled

from “the information we have available at this time.” Appx. 19. On July 26, 2021, the FT

provided to Movants documents which the FT had originally categorized as Category 3 documents

but which, based on the list of attorneys provided by Movants two months earlier, the FT had now

determined it would not provide to the PT. Appx. 28-29. The FT’s communication of July 26,

2021 made clear that as of that date it still had not provided to the PT the Category 3 documents.5

Id. As stated above, however, in September the FT advised Movants that it had turned over to the

PT the Category 3 documents. Appx. 41. Movants have never had the opportunity to review the




5
  Although the July 26th correspondence again threatened to provide information to the PT “as soon as feasible,”
Movants understood that production did not happen due at least in part to ongoing communications between Movants
and the FT regarding the production of document “families,” such as email attachments that had not been provided
for review when the parent email had been provided and vice versa. Appx. 30, 32-33.

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Category 3 documents for the purpose of asserting privilege, despite repeated requests to the FT

for a chance to do so.

B.        The Second Seized Emails.

          During a call with the FT on April 28, 2021, Movants learned that the government had

executed a second set of search warrants on Google. Based upon the information provided in that

call as well as provided subsequently, Movants understand that these warrants related to an email

account associated with Mr. Miller (dcfamilyinvestments@gmail.com), one associated with Dr.

MacLeod (wemacleod@gmail.com) and one associated with a third person. Appx. 52. The search

warrants covered the time period January 1, 2015 through March 30, 2021 for Mr. Miller’s

account, January 1, 2016 through March 30, 2021 for Dr. MacLeod’s account, and May 1, 2016

through March 30, 2021 for the third person’s account. Id.

          In discussions between Movants’ counsel and the FT during 2022, Movants learned that

this second round of Google search warrants netted the government a total of about 150,000 emails

(the “Second Seized Emails”). Appx. 56. The FT also advised Movants that it intended to utilize

a review process different from (and in Movants’ view) inferior to the (already-insufficient)

process used in connection with the First Seized Emails. Unlike in the case of the First Seized

Emails, the FT did not plan to make an email-by-email examination of the Second Seized Emails.

Instead, the FT intended to run computer searches and apply “search terms” consisting of the

names of attorneys provided by Movants to the FT in May 2021 (despite Movants’ indication at

that time of the possibility that the list could be incomplete, a concern Movants reiterated to the

FT in 2022). Appx. 60, 70. The FT could not confirm that its process would identify privileged




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emails that did not contain the name of an attorney.6 Appx. 70. The FT further advised that after

running the computer searches of the 150,000 emails, the FT would provide to the PT all emails

not containing a search term. Appx. 70. For those emails that did contain a search term, the FT

would provide those emails to the Movants for review and assertion of privilege. Id.

          Movants’ counsel specifically asked the FT for the opportunity to review the 150,000

emails in order to assert privilege over those as to which it felt a privilege claim to be appropriate.

Appx. 65. Counsel committed that it would perform this task expeditiously so as not to unduly

delay the government’s investigation. Id. The FT did not agree to this request. Appx. 70.

          On July 26, 2022, the FT advised Movants that it ran the search and obtained approximately

22,000 “hits,” that is, emails containing one or more search terms.7 See Appx. 60. On August 23,

2022, the FT invited Movants to propose additional search terms. Appx. 53. On August 25, 2022,

Movants’ counsel responded to that invitation with an email explaining the practical problems in

finding search terms that would sufficiently identify privileged documents. Appx. 65. Movants’

counsel reiterated its earlier requests to review all the emails. Id.

          The FT replied on September 1, 2022. Appx. 70. The FT advised Movants that the District

Court’s approval of the search warrants included a filter protocol and that the FT intended to follow




6
  For example, if Mr. Miller sent Dr. MacLeod an email that said, “Our lawyers told me that . .”, Movants contend
that that message would be privileged, but the FT’s methodology would not detect it. Indeed, it is unclear if the FT’s
methodology would provide emails to Movants for review even if the body of the email explicitly refers to an attorney
by name if the email does not have an attorney copied as a sender or recipient. See Appx. 70 (“That protocol … lays
out that the filter team will identify and segregate communications to/from attorneys”). Thus, Movants do not know
if the search terms are being applied to the emails as a whole or only to the “To,” “From,” “CC”, and (possibly) “BCC”
fields of the emails.
7
 Movants observe that the computer search applied to the Second Seized Emails resulted in a “hit rate” of less than
15% (22,000 hits out of 150,000 emails). In contrast, the procedures utilized by the FT in connection with the First
Seized Emails (in which the FT actually examined the emails) yielded approximately 9,000 emails (out of 20,000, or
45%) that the FT saw fit to return to Movants either outright or for further review.


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 that protocol.8 Id. That protocol did not include allowing Movants to review all of the Second

 Seized Emails. Id. Rather, the protocol provided that the FT would run its computer searches. Id.

 If the searches identified a document as containing a search term, the FT would not provide it to

 the PT without either consulting with defense counsel or obtaining the approval of the Court. Id.

 But, as the FT stated, “It is contemplated that the filter team will provide all communications that

 do not involve an attorney or are otherwise subject to attorney-client privilege to the investigative

 team for its review.” Id. In other words, if the computer fails to “hit” on a document, the FT

 intends to hand it over to the PT with no involvement by either Movants or the Court.

 C.        Distinction between the Filter Team Procedures for the First Seized Emails and the
           Second Seized Emails.9

           1. For the First Seized Emails, Movants understand that the Filter Team reviewed each

              email individually. For the Second Seized Emails, the FT intends to rely solely on

              computer searches to separate potentially privileged from presumptively not privileged

              emails.

           2. If the Filter Team Procedures (First Seized Emails) identified an email as potentially

              privileged, the FT did not provide it to the PT and provided it to Movants to allow

              Movants to indicate whether they regard the email as privileged. If the Filter Team

              Procedures (Second Seized Emails) identify an email as potentially privileged, the FT




 8
    Movants ask the Court to keep in mind that Movants had no knowledge that the PT was presenting warrant
 applications to the Court and no opportunity to participate in any of the PT’s discussions with the Court about the
 filter protocol. Stated differently, the PT’s filter protocol discussions with the Court at the time of the warrant
 applications were ex parte communications.
 9
  When referring to procedures common to the procedures utilized by the FT for both the First Seized Emails and the
 Second Seized Emails, this Memorandum will use the term “the Filter Team Procedures”. When referring to
 procedures relevant to only one batch of emails, this Memorandum will use the term “the Filter Team Procedures
 (First Seized Emails)” or “Filter Team Procedures (Second Seized Emails)”, as the case may be.

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              will provide it to the PT only if (a) Movants consent, or (b) the Court reviews the email

              and determines that it is not privileged.

           3. For both batches, if the Filter Team Procedures identify an email as presumptively not

              privileged, the FT provides it to the PT without seeking any input from either Movants

              or the Court.

 D.        Movants’ Motion.

           Movants have now filed their Motion for Return of Property and for Injunctive Relief (“the

 Motion”). Broadly speaking, the Motion asks the Court to order modified procedures (“Movants’

 Proposed Procedures”) for reviewing the seized emails for privileged communications. For the

 First Seized Emails, the Motion asks for the return of Category 3 documents and for an order

 enjoining the Filter Team from providing any other document to the Prosecution Team without the

 opportunity for Movants to review the document and consent or, if Movants assert privilege and

 the Filter Team disagrees, for the Court to review the document and decide whether it is privileged.

 For the Second Seized Emails, Movants ask for the return of the documents and for an order

 enjoining the Filter Team from sharing any document with the Prosecution Team without the same

 opportunity for Movants to review the document and assert privilege, with Court review if

 Movants and the Filter Team disagree as to whether privilege applies.

                                         III.    ARGUMENT

 A.        Legal Standards.

           Rule 41(g) of the Federal Rules of Criminal Procedure represents the appropriate vehicle

 for Movants to seek the return of the Category 3 documents and the Second Seized Emails. The

 Court can consider a Rule 41(g) motion for the return of property, even though no indictment has

 been returned, see Floyd v. United States, 860 F.2d 999, 1006 (10th Cir. 1988), because the request

 seeks relief from an ongoing intrusion into the continued possession of and lack of protection for

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 Movants’ privileged information. See Harbor Healthcare System, L.P. v. United States, 5 F.4th

 593, 600 (5th Cir. 2021). Equitable principles govern a Rule 41(g) motion, with the movant

 bearing the burden of establishing that the retention of the property by the government is

 unreasonable. United States v. Nelson, 190 Fed. Appx. 712, 714 (10th Cir. 2006). To be entitled

 to relief under Rule 41(g), a movant must show that (1) it has no adequate remedy at law, and (2)

 it would be irreparably harmed by a failure to return the property at issue. Floyd, 860 F.2d at 1003.

 In this case, as discussed below, Movants can make these showings.

           Applicable equitable principles also support Movants’ request for modification of the Filter

 Team Procedures and the use of Movants’ Proposed Procedures. Courts have considered such

 requests as properly brought under Rule 41(g) and have evaluated those requests according to the

 standards governing the adjudication of a motion for a preliminary injunction pursuant to Rule 65

 of the Federal Rules of Civil Procedure. See, e.g., In Re: Sealed Search Warrant and Application

 for a Warrant by Telephone or Other Reliable Electronic Means, 11 F.4th 1235 (11th Cir. 2021)

 (“Optima”); United States v. Ritchey, ___ F. Supp. 3d ____, No. 1:21-CR-6, 2022 WL 3023551

 (S.D. Miss. June 3, 2022); see also In Re: Search Warrant Issued June 13, 2019, 942 F.3d 159,

 176 (4th Cir. 2019) (“Baltimore Law Firm”)(treating collectively, using preliminary injunction

 standards, a party’s request for an injunction to enjoin the government’s review of seized

 documents and a Rule 41(g) motion for the return of the documents). A litigant seeking a

 preliminary injunction must establish a substantial likelihood of success on the merits, irreparable

 harm in the absence of preliminary relief, that the harm outweighs whatever damage the proposed

 injunction might cause the opposing party, and that an injunction would not be adverse to the

 public interest. Lundgrin v. Claytor, 619 F.2d 61, 63 (10th Cir. 1980). In cases where the movant

 has prevailed on the other factors, the Tenth Circuit uses a liberal definition of “likelihood of



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 success”: the plaintiff need only raise “questions going to the merits so serious, substantial,

 difficult and doubtful as to make them a fair ground for litigation and thus for more deliberate

 investigation.” Id. (internal quotations omitted).

 B.        Movants are entitled to modification of the Filter Team Procedures and the return of
           their privileged information.

           1.     At a minimum, Movants have raised questions going to the merits that warrant
                  more deliberate investigation; at a maximum, Movants can show that they are
                  correct on the merits.

           Movants should prevail because the Filter Team Procedures utilized in this case anoint

 federal prosecutors, i.e., the FT, as the final arbiters as to what is privileged and what is not,

 allowing documents to go to the PT without affording Movants the opportunity for judicial

 resolution of disagreements as to whether a document is privileged. In recent years (indeed, in

 recent months) Courts – for multiple reasons – have struck down filter team procedures almost

 identical to those used in this case. In Optima, a magistrate judge initially approved a search

 warrant with a filter team protocol allowing the filter team to provide to the prosecution team all

 communications that did not appear to involve an attorney. Optima, 11 F.4th at 1240. Following

 execution of the warrant certain individuals and companies were allowed to intervene in the matter

 and sought to enjoin the government’s review of the documents. After hearing arguments, the

 magistrate modified the filter team protocol in a number of respects. Most importantly for present

 purposes, the magistrate required the filter team to allow movants to review all the seized

 documents first, before any of them went to the prosecution team, in order to assert privilege. The

 magistrate’s modified protocol then set up a mechanism for resolving disagreements between

 movants and the filter team, ultimately providing that no document as to which movants claimed

 privilege could go to the prosecution team unless movants agreed or a court, or court-appointed




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 special master, so ruled. Optima, 11 F.4th at 1240-43. The Court of Appeals affirmed that process.

 Id. at 1252.

           More recently, in Ritchey, a magistrate judge in Mississippi took a similar approach. That

 case, like this one, involved two search warrants. As here, the first search warrant did not set forth

 a written filter team protocol while the second one did.10 See 2022 WL 3023551 at *1. As here,

 the filter team provided to the prosecution team documents seized pursuant to the first warrant

 which the filter team deemed non-privileged but no documents seized pursuant to the second

 warrant had gone to the prosecution team at the time the Court ruled on movant’s Rule 41(g)

 motion. Id. at *4. As here, the filter team protocols allowed the filter team to provide documents

 to the prosecution team without providing the movant with the opportunity to object and obtain

 judicial review. Id. at *1-2.

           The Court deemed the filter team protocol inadequate, identifying as its primary, but not

 only, flaw that it “vested the final privilege determination in the filter team.” Id. at *6-7. The

 Court ordered the prosecution team to return all seized documents to the filter team (and to destroy

 all copies in the prosecution team’s possession), and it enjoined the filter team from any further

 review until after Court-approval of a new filter team protocol. Id. at *9.

           This Court should follow the examples of Optima and Ritchey and grant Movants’ motion

 in this case because, as those Courts understood, allowing the FT to make the final call as to

 whether a document is privileged usurps judicial functions and implicates separation of powers



 10
   The Court found, however, “that the same filter team protocol governed review of the materials seized under each
 Warrant.” Ritchey, 2022 WL 3023551 at *4. In the case at bar, the Filter Team Procedures (First Seized Emails)
 differ from the Filter Team Procedures (Second Seized Emails) in that, with respect to the first batch of emails the FT
 actually reviewed the documents while, with respect to the second batch the FT relied solely on computer searches to
 distinguish potentially privileged from non-privileged documents. Importantly, however, the two sets of procedures
 share the characteristic of allowing the FT to declare certain emails as non-privileged and deliver them to the PT, with
 no input from Movants or the Court. The filter team protocols in Ritchey also shared that feature, a feature which, as
 discussed below, the judge found to render the protocols fatally flawed.

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 concerns.      “We have recognized that, when a dispute arises as to whether a lawyer’s

 communications or a lawyer’s documents are protected by the attorney-client privilege or work-

 product doctrine, the resolution of that dispute is a judicial function.” Baltimore Law Firm, 942

 F.3d at 176. “[T]he magistrate judge – by authorizing the Filter Team and its Protocol – erred in

 assigning judicial functions to the executive branch.” Id.;11 see also Optima, 11 F.4th at 1251

 (magistrate judge’s modified filter protocol affirmed because it “did not assign judicial functions

 to the executive branch”); NLRB v. Interbake Foods, LLC, 637 F.3d 492, 498, 500 (4th Cir. 2011)

 (in deciding whether to enforce an administrative subpoena seeking potentially privileged

 documents, a court “cannot delegate” an in camera review of documents to an agency, but must

 itself decide a claim of privilege); In re The City of New York, 607 F.3d 923, 947 (2d Cir. 2010)

 (evaluation of a privilege claim is always a judicial function); In re Grand Jury Proceedings #5

 Empaneled Jan. 28, 2004, 401 F.3d 247, 256 (4th Cir. 2005) (remanding to district court for in

 camera review concerning privileged communications and applicability of crime-fraud exception).

           In addition to the usurpation of the judicial role in determining privilege disputes, allowing

 the FT here to hand over emails to the PT with no review by Movants or oversight by a court

 implicates other problems which courts have identified. As several courts have acknowledged, a

 filter team might “have an interest in preserving privilege, but it also possesses a conflicting

 interest in pursuing the investigation, and ... some [filter] team attorneys will make mistakes or

 violate their ethical obligations. It is thus logical to suppose that [filter] teams pose a serious risk



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    Some commentators and litigants have interpreted Baltimore Law Firm as holding that the mere use of a filter team
 to review privileged documents under the auspices of making a privilege determination constitutes a per se intrusion
 into the attorney-client privilege. See, e.g., M. Dore, “Privacy Rights After Carpenter,” 43 Los Angeles Lawyer 24,
 28-29, July/August 2020 (discussing Baltimore Law Firm under the heading “End of the Taint Team”). At least two
 courts have stated that if Baltimore Law Firm so holds, they disagree with that holding. See Ritchey, 2022 WL
 3023551 at *3-4 (citing In Re Search Warrants Executed on Apr. 28, 2021, No. 21MC425 (JPO), 2021 WL 2188150
 at *2 n.3 (S.D.N.Y. 2021)). Movants’ position in this case does not require a determination that filter teams are per
 se improper, and Movants do not advance that argument here.

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 to holders of privilege.” Baltimore Law Firm, 942 F.3d at 177 (citing In Re Grand Jury Subpoenas,

 454 F.3d 511, 523 (6th Cir. 2006) (“Winget”)).

           The Winget case arose when the plaintiffs learned that a third party had received two grand

 jury subpoenas to produce documents that would include documents subject to the plaintiffs’

 claims of privilege. The plaintiffs intervened and sought the right to conduct their own privilege

 review of the documents responsive to the subpoenas. Winget, 454 F.3d at 514. The challenged

 filter team protocols in Winget mirrored the Filter Team Procedures here: they allowed the filter

 team to return to the privilege-holders documents it determined to be privileged; to submit to the

 privilege-holders documents it determined to be potentially privileged, with adjudication by the

 district court of any disagreements; and to produce directly to the grand jury documents it deemed

 not privileged. Id. at 515. In other words, in Winget, as here, the plaintiffs were challenging a

 filter team protocol under which the government’s filter team – not the privilege-holders nor the

 court – determined which documents were privileged. Plaintiffs sought to modify the protocols to

 allow their counsel to conduct the initial privilege review, create a log of any documents for which

 they claimed privilege, and then submit any resulting privilege disputes to the court. Id. at 516.12

           The Sixth Circuit held that the government’s protocol failed to sufficiently protect the

 plaintiffs’ claims of privilege, taking particular issue with the failure of the protocol to impose any

 meaningful check on the filter team’s determinations that an item was not privileged. The Court

 was concerned that any government team, even if walled off from the investigating team, would

 have a conflict of interest in reviewing the documents between an interest, as filter team members,

 in preserving privilege versus an interest, as prosecutors, in pursuing an investigation. Because


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   The Sixth Circuit noted that the plaintiffs’ proposed procedure “seems to reflect a fairly standard practice by which
 law firms conduct privilege reviews when responding to government subpoenas or other discovery requests.” Winget,
 454 F.3d at 516. Indeed, this is precisely how Movants have protected their privileged information in responding to
 the twenty-six grand jury subpoenas served in this investigation upon Monteagle and other entities.

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 “human nature being what it is, occasionally some taint-team attorneys will make mistakes or

 violate their ethical obligations;” therefore it is “logical to suppose that taint teams pose a serious

 risk to holders of privilege, and this supposition is substantiated by past experience.” Winget, 454

 F.3d at 523. The Court went on to describe an “obvious flaw” in the procedure currently in place:

 “the government’s fox is left in charge of the appellants’ henhouse, and may err by neglect or

 malice, as well as by honest differences of opinion.” Id.

           In Optima, discussed supra at Sect. III.B.1., the Eleventh Circuit expressed similar

 concerns. In upholding the magistrate judge’s modified filter protocol, which allowed the movants

 to perform the initial privilege review and prohibited purportedly privileged documents from going

 to the prosecution team without movants’ permission or Court approval, the appellate court noted

 favorably, “This means that the filter team cannot inadvertently provide the investigation team

 with any privileged materials.” Optima, 11 F.4th at 1249; see also Baltimore Law Firm, 942 F.3d

 at 177 (“filter team errors can arise from differences of opinion regarding privilege ... a filter team’s

 members ‘might have a more restrictive view of privilege’ than the subject of the search, given

 their prosecutorial interests in pursuing the underlying investigations.... That ‘more restrictive view

 of privilege’ could cause privileged documents to be misclassified and erroneously provided to an

 investigation or prosecution team”) (quoting Winget, 454 F.3d at 523).

           In sum, Filter Team Procedures create “a clear appearance of – and potential for –

 improprieties when government agents are authorized to rummage through attorney-client

 communications.” Baltimore Law Firm, 942 F.3d at 176. Here, allowing the Government, an

 adverse party, to unilaterally make privilege determinations for Movants without the opportunity

 for objection by Movants, without oversight by a court, and potentially in direct contravention to

 privilege determinations made by Movants when reviewing comparable information in responding



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 to their own subpoenas, does not sufficiently protect Movants’ privilege and will chill the free flow

 of information between clients and lawyers. As a result, the FT is not the appropriate party to

 decide those issues, and Movants have a substantial likelihood of success on the merits of their

 contention that the Filter Team Procedures are legally flawed.

           2.    Movants would be irreparably harmed absent injunctive relief modifying the Filter
                 Team Procedures and a return of their privileged information.

           This Court should have little difficulty concluding that the retention by the PT of

 potentially-privileged materials, and the threat of the FT to provide even more such materials to

 the PT, constitute the type of irreparable harm justifying the relief sought in the Motion. As the

 Court in Ritchey put it, “[I]t is well-established that ‘an adverse party’s review of privileged

 materials seriously injures the privilege holder.’” Ritchey, 2022 WL 3023551 at *7 (quoting

 Baltimore Law Firm, 942 F.3d at 175)). The purpose of the attorney-client privilege is to ensure

 “full and frank communication” between a client and his lawyer and “thereby promote broader

 public interests in the observance of law and administration of justice.” Upjohn Co. v. United

 States, 449 U.S. 383, 389 (1981); see also Baltimore Law Firm, 942 F.3d at 173-74 (“attorney-

 client privilege is ‘the oldest of the privileges for confidential communications known to the

 common law’”) (quoting Upjohn); Winget, 454 F.3d at 519 (same). As the Supreme Court has

 consistently emphasized, the attorney-client privilege exists because “sound legal advice or

 advocacy serves public ends and ... such advice or advocacy depends upon the lawyer’s being fully

 informed by the client.” Upjohn, 449 U.S. at 389; see also Hunt v. Blackburn, 128 U.S. 464, 470

 (1888) (“The rule which places the seal of secrecy upon communications between client and

 attorney is founded upon the necessity, in the interest and administration of justice, of the aid of

 persons having knowledge of the law and skilled in its practice, which assistance can only be safely

 and readily availed of when free from the consequences or the apprehension of disclosure.”).


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           Work-product privilege operates for a similar purpose: “that people should be free to make

 requests of their attorneys without fear, and that their attorneys should be free to conduct research

 and prepare litigation strategies without fear that these preparations will be subject to review by

 outside parties.” Winget, 454 F.3d at 520; see also Baltimore Law Firm, 942 F.3d at 174-75

 (”[a]lthough the work-product doctrine does not trace as far into history as the attorney-client

 privilege, it is no less important”) .

           These privileges, and a general respect for and deference to a proper claim of privilege,

 play “a vital role in assuring the proper functioning of the criminal justice system and provide a

 means for a lawyer to prepare her client’s case.” Optima, 11 F.4th 1235 at 1249 (quoting United

 States v. Nobles, 422 U.S. 225, 238 (1975)). It is, therefore, axiomatic “that an adverse party’s

 review of privileged materials seriously injures the privilege holder.” Baltimore Law Firm, 942

 F.3d at 174; see also United States v. Philip Morris Inc., 314 F.3d 612, 622 (D.C. Cir. 2003) (party

 demonstrated the likelihood of irreparable harm predicated on “the general injury caused by the

 breach of the attorney-client privilege and the harm resulting from the disclosure of privileged

 documents to an adverse party”); In re Perrigo Co., 128 F.3d 430, 437 (6th Cir. 1997) (“forced

 disclosure of privileged material may bring about irreparable harm”); Klitzman, Klitzman &

 Gallagher v. Krut, 744 F.2d 955, 960-61 (3d Cir. 1984) (law firm demonstrated likelihood of

 irreparable harm where government seized thousands of files containing privileged information).

           Moreover, that harm is plainly irreparable, as the Government’s review of Movants’

 privileged materials cannot be undone. Additionally, if Movants’ privileged materials are not

 returned to them and if the Filter Team Procedures are not enjoined as described more fully herein,

 Movants will have no other adequate remedy at law. Optima, 11 F.4th at 1247 (a return of property

 pursuant to Rule 41(g) “offers the remedy of returning to the Intervenors any improperly seized



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 documents protected by privilege before the government has reviewed them. Unlike suppression,

 that is a remedy that can redress any potential injury by ensuring it does not occur in the first

 place.”) (emphasis in original); Harbor Healthcare System, 5 F.4th at 600 (“Harbor remains

 injured as long as the government retains its privileged documents. That injury can only be made

 whole by the government returning and destroying its copies of the privileged material.”).

           Movants satisfy this prong of the test for the relief they seek.

           3.     The harm to Movants outweighs the harm (if any) the requested relief would cause
                  to the government.

           The harm caused to Movants by the continued Government review of their privileged

 materials outweighs any harm to the Government that might result from allowing Movants to

 conduct its own privilege review and deferring the resolution of any disputed privilege issues to a

 supervising court.

           The Sixth Circuit’s analysis in Winget is instructive. There, the Court recognized the two

 types of errors that could be made in any privilege determination: unprivileged documents

 misidentified as privileged (Type I errors) and privileged documents misidentified as unprivileged

 (Type II errors), and explained that:

           It is reasonable to presume that the government’s taint team might have a more
           restrictive view of privilege than appellants’ attorneys. But under the taint team
           procedure, appellants’ attorneys would have an opportunity to assert privilege only
           over those documents which the taint team has identified as being clearly or
           possibly privileged. As such, we do not see any check in the proposed taint team
           review procedure against the possibility that the government’s team might make
           some false negative conclusions, finding validly privileged documents to be
           otherwise; that is to say, we can find no check against Type II errors in the
           government’s proposed procedure. On the other hand, under the appellants’
           proposal, which incidentally seems to follow a fairly conventional privilege review
           procedure employed by law firms in response to discovery requests, the
           government would still enjoy the opportunity to challenge any documents that
           appellants’ attorneys misidentify (via the commission of Type I errors) as
           privileged.



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 Winget, 454 F.3d at 523 (emphasis in original). In short, while the filter team was unlikely to

 commit any Type I errors, their proposed protocols provided no opportunity to correct any Type

 II errors that could occur. By allowing the appellants to conduct their own privilege review Type

 II errors would be unlikely, and the filter team and overseeing court would have the opportunity to

 correct Type I errors. Allowing the privilege-holders to conduct the initial review for privilege

 with a reasonable opportunity for the government to challenge an assertion of privilege – a

 proposal roughly analogous to Movants’ Proposed Procedures – provided protection against both

 types of privilege determination errors. In contrast, allowing the taint team to unilaterally release

 documents it autonomously determined to be unprivileged without a reasonable opportunity for

 the appellants to challenge a denial of privilege – a proposal roughly analogous to the Filter Team

 Procedures – provided protection only against a false positive error. In other words, modifying

 the filter team procedures to allow a privilege holder the opportunity to contribute to a privilege

 determination protects both parties, while the original procedures protect only the government.

           When the Court in Ritchey compared the harm to Ritchey to any harm the injunction might

 cause the government (which the Court called “balancing the equities”), the Court concluded,

 “Here the equities weigh heavily in Ritchey’s favor.” Ritchey, 2022 WL 3023551 at *8. The Court

 noted that if it granted the relief sought, “the Government might be slightly delayed” in moving

 forward with its case and might incur some additional costs in properly filtering the seized

 materials. But, said the Court, “the Government has not identified any concrete reason why a

 delay or continuance would be more than an inconvenience. There is a comparatively small risk

 of harm to the Government.” Id.; see also Baltimore Law Firm, 942 F.3d at 181 (any delay that

 might result from granting relief does not weigh in the government’s favor; government should

 have anticipated the filter team challenges and the delay they would entail and, “in any event, delay



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 in the government’s investigations here does not outweigh the harm to the Law Firm and its clients

 caused by the Filter Team’s review”).

           This Court should reach the same conclusion. Because the relief requested by Movants

 alleviates the harm to Movants caused by the Filter Team Procedures while causing little, if any,

 harm to the Government, the balance of the equities favors Movants.

           4.     Enjoining the Filter Team Procedures is not adverse to the public interest.

           Movants here would be hard-pressed to state the matter any better than did the magistrate

 judge in Ritchey: “It is well-established that protection of the attorney-client privilege typically

 supports the public interest . . . . Superseding [the government’s] filter team protocol with one that

 adequately protects Ritchey’s privilege will serve the public interest. This prong weighs in

 Ritchey’s favor.” Ritchey, 2022 WL 3023551 at *8; see also Baltimore Law Firm, 942 F.3d at

 182 (noting “‘the strong public interest’ in the integrity of the judicial system,” which injunctive

 relief will support). As identified above, see supra at Section III.B.2., the privileges at issue play

 “a vital role in assuring the proper functioning of the criminal justice system and provide a means

 for a lawyer to prepare her client’s case.” Optima, 11 F.4th at 1249 (quoting United States v.

 Nobles, 422 U.S. at 238).

           By allowing an adverse party to determine whether Movants can claim privilege as to their

 own information, the Filter Team Procedures create both a risk to privilege and the appearance of

 unfairness to Movants. As the Sixth Circuit has noted:

           [T]aint teams present inevitable, and reasonably foreseeable, risks to privilege, for
           they have been implicated in the past in leaks of confidential information to
           prosecutors. That is to say, the government taint team may have an interest in
           preserving privilege, but it also possesses a conflicting interest in pursuing the
           investigation, and, human nature being what it is, occasionally some taint-team
           attorneys will make mistakes or violate their ethical obligations. It is thus logical to
           suppose that taint teams pose a serious risk to holders of privilege, and this
           supposition is substantiated by past experience.


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 Winget, 454 F.3d at 523; see also United States v. Gallego, No. 4:18-cr-01537, slip op. at 4-6,

 2018 WL 4257967 (D. Ariz. Sept. 6, 2018) (recognizing appearances of unfairness inherent in use

 of filter teams and appointing special master to review materials seized from law firm); United

 States v. Stewart, No. 1:02-cr-00396, 2002 WL 1300059, at *8 (S.D.N.Y. June 11, 2002) (“it is

 important that the procedure adopted [for the review of seized materials] ... not only be fair but

 also appear to be fair”); United States v. Neill, 952 F. Supp. 834, 841 n.14 (D.D.C. 1997) (use of

 filter team creates “appearance of unfairness”); In re Search Warrant for Law Offices Executed on

 Mar. 19, 1992, 153 F.R.D. 55, 59 (S.D.N.Y. 1994) (“It is a great leap of faith to expect that

 members of the general public would believe any ... wall [between a filter team and a prosecution

 team] would be impenetrable; this notwithstanding our own trust in the honor of an AUSA.”).

           Correcting this risk to Movants’ privilege, and minimizing the appearance of unfairness,

 serve to promote judicial integrity and public faith in the protections afforded by the privileges,

 without which the judicial system would not function. Enjoining the Filter Team Procedures is in

 the public interest.

                                       IV.    CONCLUSION

           For the reasons stated above, Movants Monteagle Ventures, LLC, Duane Miller, and Eric

 MacLeod respectfully request that this Court (1) order the return or destruction of any privileged

 materials held by the Government; (2) enjoin the Government from continuing to implement the

 Filter Team Procedures, (3) modify the Filter Team Procedures in accordance with the Movants’

 Proposed Procedures, and (4) grant all other and further relief to which Movants may show

 themselves entitled.




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                                    Respectfully Submitted,


                                    /s/ Sanford J. Boxerman
                                    Sanford J. Boxerman (Mo. SBN 37436)
                                    boxerman@capessokol.com
                                    Sara G. Neill (Mo. SBN 53053)
                                    neill@capessokol.com
                                    CAPES, SOKOL, GOODMAN & SARACHAN, PC
                                    8182 Maryland Avenue, 15th Floor
                                    St. Louis, MO 63105
                                    Telephone: (314) 721-7701
                                    FAX: (314) 721-0554

                                    COUNSEL FOR MOVANT DUANE MILLER
                                    CO-COUNSEL FOR MOVANT MONTEAGLE VENTURES,
                                    LLC


                                                              ***


                                    /s/ Michael A. Villa, Jr.            ______
                                    Michael A. Villa, Jr. (Tex. SBN 24051475)
                                    mvilla@meadowscollier.com
                                    Brian J. Spiegel (Tex. SBN 24063987)
                                    bspiegel@meadowscollier.com
                                    Cari B. LaSala (Tex. SBN 24087890)
                                    Texas State Bar No. 24087890
                                    MEADOWS, COLLIER, REED,
                                       COUSINS, CROUCH & UNGERMAN, LLP
                                    901 Main Street, Suite 3700
                                    Dallas, Texas 75202
                                    Telephone: (214) 744-3700
                                    FAX: (214) 747-3732

                                    COUNSEL FOR MOVANT ERIC MACLEOD
                                    CO-COUNSEL FOR MOVANT MONTEAGLE VENTURES,
                                    LLC




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